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    TOGUT, SEGAL & SEGAL LLP                                   HEARING DATE: 2/4/2022 AT 10:00 AM
    One Penn Plaza, Suite 3335
    New York, New York 10119
    (212) 594-5000
    Kyle J. Ortiz
    Amanda C. Glaubach
    Eitan E. Blander

    Proposed Counsel to the Debtors
    and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                    Chapter 11

JPA NO. 111 CO., LTD. and                                 Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                          (Jointly Administered)
                            Debtors. 1


               NOTICE OF FILING OF REVISED SCHEDULE OF IMPORTANT
               DATES/DEADLINES IN CONNECTION WITH SALES PROCESS

                   PLEASE TAKE NOTICE that on December 31, 2021, the above-

captioned debtors and debtors-in-possession (the “Debtors”) filed the Debtors’

Application for Entry of Entry of Orders: (I)(A) Approving Bidding Procedures Relating to

the Sale of Substantially all of the Debtors’ Assets; (B) Establishing Stalking Horse Bidders

and Bid Protections; (C) Approving Procedures of the Assumption and Assignment of

Certain Executory Contracts and Unexpired Leases; (D) Authorizing Enforcement Actions;

(E) Scheduling an Auction and a Sale Hearing; and (F) Approving the Form and Manner of

Notice Thereof; and (II)(A) Approving the Sale of the Purchased Assets Free and Clear of all

Liens, Claims, Interests and Encumbrances; and (B) Granting Related Relief [Docket No.




1
       The Debtors in these Chapter 11 cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
       Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
       Chiyoda-Ku, Tokyo 100-0013.
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21] (the “Bid Procedures and Sale Motion”). 2

               PLEASE TAKE FURTHER NOTICE that the Debtors hereby file a

Revised Scheduled of Important Dates/Deadlines in Connection with the Sale

Process (the “Revised Schedule”) with a redline included to show the changes to the

Schedule that has been amended, modified, or supplemented since filed with the

Bid Procedures and Sale Motion:

                                 Exhibit 1: Revised Schedule
                                  Exhibit 2: Redline of Revised Schedule
               PLEASE TAKE FURTHER NOTICE that copies of the Bid Procedures

and Sale Motion, the Exhibits, and the Revised Schedule can be viewed and/or

obtained by (i) accessing the Bankruptcy Court’s Website for a fee, or by (ii) contacting

the Office of the Clerk of the United States Bankruptcy Court, Southern District of New

York. Please note that a PACER password is required to access documents on the

Bankruptcy Court’s Website.

Dated: New York, New York
       February 4, 2022                        JPA NO. 111 CO., LTD. and
                                               JPA NO. 49 CO., LTD.
                                               Debtors and Debtors in Possession
                                               By their Proposed Counsel
                                               TOGUT, SEGAL & SEGAL LLP
                                               By:


                                               /s/ Kyle J. Ortiz
                                               Kyle J. Ortiz
                                               Amanda C. Glaubach
                                               Eitan E. Blander
                                               One Penn Plaza, Suite 3335
                                               New York, New York 10119
                                               Telephone: (212) 594-5000


2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in
    the Bid Procedures and Sale Motion.



                                                   2
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                                                     Updated for February 4, 2022 Hearing


                              SUMMARY OF IMPORTANT DATES

                       Key Event                                         Deadline1
    Continued Hearing on Bidding Procedures                  February 4, 2022
    Assumed Date by which Bidding
                                                             February 4, 2022
    Procedures Order Entered
    Deadline for Bidders Who Are Secured
                                                             February 10, 2022 at 4:00 p.m.
    Creditors to Complete Request to Utilize
                                                             (ET)
    Credit Bids at the Auction
    Deadline for Any Objections to Credit
    Bidding under Bankruptcy Code Section
                                                             February 17, 2022 at 4 p.m. (ET)
    363(k) (the “Credit Bidding Objection
    Deadline”)
    Deadline to Submit any Objections to Sale
    Based upon the Terms of the Stalking Horse
    Purchase Agreement (as modified by
    Debtors' Statement Responding to this
    Court's Inquiries Regarding the Debtors'                 February 17, 2022 at 4 p.m. (ET)
    Motion to Approve Bidding Procedures,
    dated January 28, 2022 [Docket No. 90] (the
    "Debtors' Statement")) and the General Sale
    Terms
    Deadline for any Responses in Support of
    Credit Bidding (the “Credit Bidding                      February 23, 2022 at 4 p.m. (ET)
    Response Deadline”)
    Deadline to Submit any Replies to the
    Objections to Sale Based upon the Terms of
    the Stalking Horse Purchase Agreement (as                February 23, 2022 at 4 p.m. (ET)
    modified by Debtors' Statement) and the
    General Sale Terms
    Deadline for any Replies in Further Support
    of Objections to Credit Bidding (the “Credit             March 1, 2022 at 4 p.m. (ET)
    Bidding Reply Deadline”)



1
         Because the Court rescheduled the conclusion of the Bidding Procedures Hearing from the
originally anticipated January 20, 2022 to February 4, 2022, the sale process dates have been
adjusted. The following dates assume (a) the Bidding Procedures Hearing will be completed on
February 4, 2022, (b) the entry of the order approving bidding procedures by February 5, 2022,
and (c) a sale hearing on March 14, 2022. Dates may be futher adjusted (subject to consent of
Stalking Horse Bidder (not to be unreasonably withheld)) if hearings are scheduled for different
dates or if either or both of Bidding Procedures Order or the Sale Order are entered on different
date(s).
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                                                   [**Subject to Court
   Court Hearing Date for Any Credit Bidding
                                                   Availability**][March 4, 2022
   Disputes
                                                   at __:__ __.m.]
                                                   March 7, 2022 at 12 noon (ET)
                                                   (assumes entry of Bidding
   Deadline to Submit Bids (the Bid Deadline)
                                                   Procedures Order by February
                                                   5th)
   Deadline for Debtors to Notify Bidders of
   Status as Qualified Bidders (the Qualified      March 7, 2022 at 6 p.m. (ET)
   Bid Deadline)
   If No Auction Is to Be Held, Deadline for
   Debtors to Notice that Stalking Horse Bid       March 7, 2022 at 6 p.m. (ET)
   (as defined herein) Is Successful Bid
   Auction to be held if the Debtors receive
   Qualified Bids, to be conducted via Zoom        March 8, 2022 at 10 a.m. (ET)
   Telephone Conference
   Deadline to File Notice of (i) Identities of
   Successful Bid and Back-Up Bid and (ii) for     March 8, 2022 at 10:00 p.m.
   seeking authority to sell the Purchased         (ET)
   Assets to such Successful Bidder
   Deadline to Object to Successful Bid
   (Objections Limited to Identity of
   Successful Bidder and to any Deviations
   from the Terms of the Stalking Horse
   Purchase Agreement (as modified by
                                                   March 10 2022 at noon (ET)
   Debtors' Statement Responding to this
   Court's Inquiries Regarding the Debtors'
   Motion to Approve Bidding Procedures,
   dated January 28, 2022 [Docket No. 90] (the
   "Debtors' Statement"))
                                                   March 11 2022 at 11:59 p.m.
   Deadline for Replies in Support of Sale
                                                   (ET)
                                                   [**Subject to Court
   Sale Hearing                                    Availability**][March 14, 2022
                                                   at [__:_0 _.m. (ET)
   Assumed date by which Sale Order is
                                                   March 14, 2022
   entered
                                                   March 15, 2022 at 5:00 p.m.
                                                   (ET) (or Such Later Date as
   Deadline for Closing of Successful Bid          Reasonably Agreed by the
                                                   Debtors and the Successful
                                                   Bidder)
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                               EXHIBIT “2”
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SUMMARY OF IMPORTANT DATES

                       Key Event                                         Deadline1
    Continued Hearing on Bidding Procedures                  January 20February 4, 2022
    Assumed Date by which Bidding
                                                             January 22February 4, 2022
    Procedures Order Entered
    Deadline for Bidders Who Are Secured
                                                             January 28February 10, 2022 at
    Creditors to Complete Request to Utilize
                                                             4:00 p.m. (ET)
    Credit Bids at the Auction
    Deadline for Any Objections to Credit
    Bidding under Bankruptcy Code Section                    February 417, 2022 at 4 p.m.
    363(k) (the “Credit Bidding Objection                    (ET)
    Deadline”)
Deadline to Submit any Objections to Sale
Based upon the Terms of the Stalking Horse
Purchase Agreement (as modified by Debtors'
Statement Responding to this Court's Inquiries
                                                         February 17, 2022 at 4 p.m. (ET)
Regarding the Debtors' Motion to Approve
Bidding Procedures, dated January 28, 2022
[Docket No. 90] (the "Debtors' Statement")) and
the General Sale Terms
   Deadline for any Responses in Support of
                                                             February 1123, 2022 at 4 p.m.
   Credit Bidding (the “Credit Bidding
                                                             (ET)
   Response Deadline”)
Deadline to Submit any Replies to the
Objections to Sale Based upon the Terms of the
Stalking Horse Purchase Agreement (as                    February 23, 2022 at 4 p.m. (ET)
modified by Debtors' Statement) and the
General Sale Terms
   Deadline for any Replies in Further Support
                                                             February 14March 1, 2022 at 4
   of Objections to Credit Bidding (the “Credit
                                                             p.m. (ET)
   Bidding Reply Deadline”)




1
         These dates assume a January 20, 2022Because the Court rescheduled the conclusion of
the Bidding Procedures Hearing from the originally anticipated January 20, 2022 to February 4,
2022, the sale process dates have been adjusted. The following dates assume (a) the Bidding
Procedures Hearing will be completed on the Bidding ProceduresFebruary 4, 2022, (b) the entry
of the order approving bidding procedures by February 5, 2022, and (c) a February 25, 2021 Sale
Hearingsale hearing on March 14, 2022. Dates tomay be futher adjusted (subject to consent of
Stalking Horse Bidder (not to be unreasonably withheld)) if hearings are scheduled for different
dates or if either or both of Bidding Procedures Order or the Sale Order are entered on different
date(s).
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                                                     [**Subject to Court
   Court Hearing Date for Any Credit Bidding
                                                     Availability**][February
   Disputes
                                                     16March 4, 2022 at __:__ __.m.]
                                                     February 22, 2022 at 10 a.m.
                                                     (ET)March 7, 2022 at 12 noon
   Deadline to Submit Bids (the Bid Deadline)        (ET) (assumes entry of Bidding
                                                     Procedures Order by February
                                                     5th)
   Deadline for Debtors to Notify Bidders of
                                                     February 22March 7, 2022 at
   Status as Qualified Bidders (the Qualified
                                                     5:006 p.m. (ET)
   Bid Deadline)
   If No Auction Is to Be Held, Deadline for
                                                     February 22March 7, 2022 at
   Debtors to Notice that Stalking Horse Bid
                                                     5:006 p.m. (ET)
   (as defined herein) Is Successful Bid
   Auction to be held if the Debtors receive
                                                     February 23March 8, 2022 at 10
   Qualified Bids, to be conducted via Zoom
                                                     a.m. (ET)
   Telephone Conference
   Deadline to File Notice of (i) Identities of
   Successful Bid and Back-Up Bid and (ii) for       February 23March 8, 2022 at
   seeking authority to sell the Purchased           6:0010:00 p.m. (ET)
   Assets to such Successful Bidder
   Deadline to Object to Successful Bid
   (Objections Limited to Identity of
   Successful Bidder and to any Deviations
   from the Terms of the Stalking Horse
   Purchase Agreement (as modified by                February 24, 2022March 10
   Debtors' Statement Responding to this             2022 at 10:00 a.m.noon (ET)
   Court's Inquiries Regarding the Debtors'
   Motion to Approve Bidding Procedures,
   dated January 28, 2022 [Docket No. 90] (the
   "Debtors' Statement"))
                                                     February 24, 2022March 11
   Deadline for Replies in Support of Sale
                                                     2022 at 6:0011:59 p.m. (ET)
                                                     [**Subject to Court
                                                     Availability**][February
   Sale Hearing
                                                     25March 14, 2022 at [__:_0 _.m.
                                                     (ET)
Assumed date by which Sale Order is entered       March 14, 2022
                                                    February 28March 15, 2022 at
                                                    5:00 p.m. (ET) (or Such Later
   Deadline for Closing of Successful Bid           Date as Reasonably Agreed by
                                                    the Debtors and the Successful
                                                    Bidder)
